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                    Exhibit 10
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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG           *                  MDL NO. 2179
       “DEEPWATER HORIZON” in the         *
       GULF OF MEXICO, on                 *
       APRIL 20, 2010                     *                  SECTION J
                                          *
                                          *
                                          *                  JUDGE BARBIER
                                          *                  MAG. JUDGE SHUSHAN
*******************************************


                         DECLARATION OF XAVIER OUSTALNIOL



I.       Qualifications & Scope of Services

1. I am a Managing Director with Alvarez & Marsal and head of the San Francisco Global
      Forensic and Dispute Services practice. I am a Certified Public Accountant (“CPA”) in
      California and New York. I am also Certified in Financial Forensics by the American
      Institute of Certified Public Accountants. I have provided auditing, forensic accounting and
      litigation consulting services to companies and individuals for more than 20 years. Appendix
      A contains a more complete statement of my background and qualifications.


2. I have been asked by BP to address accounting and economic issues raised by Class
      Counsel’s proposed implementation and interpretation of the Business Economic Loss
      (“BEL”) framework in the Economic and Property Damages Settlement Agreement,
      specifically in regard to claims submitted by professional services firms to the Court
      Supervised Settlement Program (the “Settlement Program”). I was involved in developing
      the approaches for matching monthly revenue to corresponding expenses for professional
      services firms proposed in Tab 1 of the BP Response to Class Counsel’s December 16, 2012
      Request for Policy Determination.     I also was involved in developing the triggers to
      determine when additional review is needed to ensure proper matching of revenue to
      corresponding expenses that BP proposed in a supplemental submission to the Claims


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      Administrator. In reaching my opinions, I relied on my CPA experience, including my
      familiarity with accounting for professional services firms. Appendix B lists the documents I
      relied on.


II.      Opinions

3. I conclude that Class Counsel’s proposed implementation and interpretation of the BEL
      framework, as it relates to the use of financial records provided by professional services
      firms, results in an economically unreasonable and unreliable measurement of the financial
      performance of such claimants, often leading to overstated BEL compensation to
      professional services firm claimants.


4. The financial statements (reporting historical monthly revenues and expenses) provided by
      professional services firms to the Settlement Program typically are prepared under a non-
      accrual basis of accounting and do not provide a reliable basis for comparing a firm’s
      financial performance at different points in time because (1) revenues are recognized when
      cash is collected as opposed to earned; and (2) the timing of the use of resources (expenses)
      and benefits derived from the use of such resources (revenues) are not properly matched in
      any given time period. The accounting literature provides ample support for this view.


5. Class Counsel’s proposed implementation and interpretation of the Settlement Agreement,
      including reliance on cash-based financial statements for many claims, fails to address these
      issues and distorts compensation determinations under the BEL framework.          Failure to
      recognize revenues when earned also affects evaluation under the revenue pattern tests of the
      BEL framework, potentially leading to compensation being paid to firms that would not pass
      the revenue pattern tests if revenues were recognized correctly.


6. The relevant financial data needed to align revenue with corresponding expenses should be
      available and easily accessible to professional services firm claimants. The proper data has
      to be used when implementing the BEL framework to reliably assess changes in the financial
      performance of a professional services firm.    BP has proposed metrics that can be used to
      identify whether financial data from professional services firm claims will require further
      scrutiny and has suggested a simple and workable multi-step approach that will remedy

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       problems resulting from Class Counsel’s approach.             BP’s proposals will result in an
       economically reasonable identification of when revenue was earned by professional services
       firms and an economically reasonable matching of revenue to the corresponding variable
       costs.


III.      Overview of Professional Services Firms

7. The term “professional services firms” generally refers to firms with a high knowledge
       professional work force (human capital) and low capital intensity and that often bill their
       clients based on output as measured in terms of hours, hourly fees, and defined-scope
       projects. Professional services firms including, among others, accounting firms, architectural
       firms, engineering firms, human resources firms, consulting firms (in various fields),
       appraisal firms, actuarial firms, and advertising agencies.


8. Frequently, the earnings cycle of professional services firms depends on the duration of
       projects, which may span months or sometimes years. Payment may be made on a variety of
       schedules, including upfront, in milestones, on a monthly basis, or at the end of a project, and
       will include a profit margin built into the price of the services. The expenses incurred involve
       mostly the cost of the work force (or subcontractors) and office space costs.


9. In the case of accounting firms, for example, the timing of revenues and expenses depends on
       the level of diversification. If the firm performs audits, it may have periods of intense work
       after a client’s books are closed. Accounting firms that provide tax services will observe
       spikes in activity around tax filing deadlines. Likewise, human resources firms may incur
       expenses to place candidates and receive a one-time payment when the candidate is placed,
       often only after many months of effort.


10. For law firms, the timing of when payment is received is highly dependent on the nature of
       the work performed. For example, law practices specializing in mergers and acquisitions may
       receive fees based on the closing of a deal or have an agreement to get paid on busted deals
       worked for a private equity firm once a new deal goes through; bankruptcy law practices may
       be subject to holdbacks on their fees that get released at the will of the court or success fees



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   paid once a plan is filed; and other law firms may receive contingent fees based on
   settlements or the outcome of a case.


11. In each of these cases, the timing of when payment is received is not closely tied to when the
   effort is expended in generating that revenue.


12. On the expense side, some professional services firms have expense items reported in one
   period that may be incurred in other accounting periods, or multiple periods. For example,
   professional service firms pay bonuses at year-end which are only recorded when paid even
   if they are based on the number of hours worked throughout the year. In addition, items such
   as expert fees, which are typically passed through to clients, may appear as large revenues
   and expenses, although these items may not be reported in the same accounting period.


13. For these reasons, when professional services firms maintain their books and records on a
   cash basis or modified cash basis of accounting, they will not reflect revenues when they
   were earned, or properly associate the corresponding expenses with those revenues.
   Consequently, the portrayal of the monthly financial performance will be inaccurate.


14. In order to evaluate such performance with financial statements prepared under a cash or
   modified cash basis of accounting, the information needs to be evaluated so as to synchronize
   the revenues earned with the corresponding expenses incurred. In my experience as an
   auditor and accountant, I have observed that lenders to law firms receive reports of the
   inventory of hours in work-in-progress as well as receivables, which typically collateralize
   part of their loans or lines of credit, because they know that these fees have been earned,
   even though the financial statements in any given month do not reflect this value until the
   cash comes in.


15. Similarly, in order to properly implement the BEL framework, which requires a comparison
   of a firm’s monthly variable profits and revenue before and after the spill, a firm’s actual
   historical financial performance in the relevant time periods must be assessed. In contrast,
   the approach of Class Counsel would capture variances caused by the timing of recognition
   of cash receipts and disbursements leading to an economically unreasonable and unreliable
   assessment of such financial performance.

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IV.      Financial Statements Using Modified Cash Basis of Accounting Do Not Accurately
         Reflect a Firm’s Financial Performance Over Limited Reporting Periods

16. Evaluating changes in a firm’s financial performance over a given time period, as called for
      in the BEL framework, requires properly identifying the period(s) in which revenue is earned
      and matching the corresponding costs incurred to generate such revenue in the same period.
      As a general matter, these requirements will not be met by simply considering modified cash
      basis of accounting 1 financial statements. Cash basis financial statements are maintained for
      purposes of monitoring a firm’s current cash position or facilitating tax reporting, but not for
      measuring financial performance.


             A. Professional Services Firms Typically Use Modified Cash Basis of
                Accounting Financial Statements

17. Most professional services firms maintain their books and records and present their financial
      statements under a modified cash basis of accounting. My review of the Claimants’ profit
      and loss (“P&L”) statements indicated that most of them were prepared using such a basis of
      accounting. (See discussion in Section V). Non-accrual bases of accounting are referred to in
      the auditing standards as “other comprehensive basis of accounting” (“OCBOA”). 2


18. It is broadly recognized by the accounting literature and accounting professionals that one of
      the pillars of reliable financial reporting is the “matching” concept, which requires that
      events and transactions be recorded and presented (or recognized) in such a way that
      revenues earned and the related 3 expenses incurred, are recorded in the same period. In fact,
      PriceWaterhouseCoopers (“PwC”), which publishes a “Law Firm Accounting and Financial
      Management” manual, states that:




1
  For simplicity I use cash basis and modified cash basis interchangeably, because it does not change my conclusions
whether professional service firms prepare their financials under one cash-based method of accounting or the other.
2
  Accounting Review (AR) Section 60 defines OCBOA as: “A definite set of criteria, other than accounting
principles generally accepted in the United States of America or International Financial Reporting Standards
(IFRSs), having substantial support underlying the preparation of financial statements prepared pursuant to that
basis.” See AR Section 60 (Used in the Statements on Standards for Accounting & Review Services (SSARS) &
issued by the Accounting & Review Services Committee (ARSC)), Framework for Performing and Reporting on
Compilation and Review Engagements, P. 2593. SSARS are codified as AR followed by a section number. Auditing
Standards are codified as AU followed by a section number.
3
  The accounting literature uses “corresponding” or “related” to describe how revenues are matched to expenses.

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                 “…a few firms, for various reasons, prepare their financial statements on the
                 accrual basis because it presents a more realistic (and economic) picture of the
                 firm for the reporting period. GAAP concepts are predicated on the accrual basis
                 of accounting. Accrual accounting recognizes revenue and the related assets when
                 earned rather than when received and recognizes expenses when the obligation is
                 incurred rather than when paid.” 4

19. Although OCBOA serves a variety of purposes, it does not attempt to match revenues to
     corresponding expenses in the same reporting period. In fact, PwC noted that the OCBOA
     generally used by law firms distorts the measurement of their operating results:


                 “…cash basis accounting may produce acceptable financial information over the
                 life cycle of a business; however, it tends to distort a firm's operating results
                 when they are reported on an annual or other periodic basis...” 5 [Emphasis
                 added]

                 and,

                 “While the modified cash basis of accounting more closely parallels a
                 partnership's reporting for income tax purposes, the accrual basis of accounting
                 usually provides a better reflection of a law firm's financial status. This is
                 because, during a single accounting period, the accrual basis: (1) achieves a
                 better matching of revenue with related costs, and (2) provides for a more
                 comprehensive inclusion of all assets and liabilities relevant in determining the
                 partners' or shareholders' equity in the firm.” 6 [Emphasis added]

20. Evaluating a claimant firm’s variable profit requires data reflecting reliable historical
     financial performance. The BEL framework recognizes this fact when it defines a
     Benchmark Period as a baseline for “measuring [the Claimants’] historical financial
     performance.” 7


            B. The Concepts of the Matching Principle and the Objective of Comparability
               in the Accounting Literature

21. As explained, OCBOA methods yield financial statements that do not, standing alone, permit
     an economically reasonable evaluation of a firm’s financial performance. The financial
     statements may not be comparable from year to year but are even less likely to provide a

4
  See Law Firm Accounting and Financial Management, Fifth Edition, 2012. 1.04 Accrual Basis vs. Cash Basis. P.
1-5.
5
  See Id. at 2.01 Modified Cash basis of Accounting for Law Firms. P. 2-1.
6
  See Id. at 3.01 Accrual Basis Accounting for Law Firms, P. 3-1.
7
  See Exhibit 4C to the Settlement Agreement “Compensation Framework for Business Economic Loss Claims.”

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      reliable basis for analysis over shorter periods of time (months or quarters). The accounting
      literature is unambiguous about these conclusions. The Financial Accounting Standards
      Board (“FASB”) has issued Statements of Financial Accounting Concepts (“FASCON”), to
      provide the framework for accounting pronouncements and Generally Accepted Accounting
      Principles (“GAAP”) and introduce basic accounting concepts. This is where relevant
      accounting literature describes critical information about the concepts that lead to the
      preparation and presentation of reliable and meaningful financial statements. (I discuss the
      literature further in Appendix C.)


22. Simply put, the concept of matching revenues and corresponding expenses is required if one
      is to achieve comparability not only between enterprises, but also for the same entity from
      period to period. Professional services firm claimants’ P&L statements that do not do so
      typically do not meet this objective.


V.         Overview of the Business Economic Loss Framework

23. Using financial statements prepared by professional services firms using OCBOA methods
      without taking the additional step to match revenues with corresponding expenses will
      produce economically unreasonable results when implementing the Settlement Agreement’s
      methodology.


               A. BEL Compensation Calculation

24. Pursuant to Exhibit 4C, the BEL methodology used to calculate compensation compares
      “…actual profits of a business during a defined post-Spill period in 2010 to the profit that the
      claimant might have expected to earn in the comparable post-Spill period of 2010.” 8 The
      calculation is performed in two steps. Step 1 reflects the reduction in Variable Profit between
      the Compensation Period selected by the Claimant in 2010 and the comparable months of the
      Benchmark Period. Step 2 is intended to “…compensate claimants for incremental profits or
      losses the claimant might have expected to generate in the absence of the Spill relative to the
      sales from the Benchmark Period.” 9


8
    See Exhibit 4C to the Settlement Agreement.
9
    Id.

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               1. Impact of the Timing of Recognition of Revenues and Expenses on the BEL
                  Compensation Calculation
                    a)       Step 1 Compensation

25. Step 1 measures variable profit as the sum of monthly revenue over a period less
       corresponding variable expenses incurred to generate that revenue. However, if monthly
       revenues or variable expenses earned over the relevant period are not properly measured,
       then the resulting calculation will only reflect the timing of the recording of cash outflows
       and inflows rather than the firm’s actual financial performance. As a result, variable profit
       may be overstated in a month when cash was collected and no corresponding expenses were
       paid; conversely, it may be understated for periods when expenses were recorded and no
       corresponding revenue was recognized because no cash payments were received. When
       revenues and expenses are not matched, the variable profit will not reflect the “actual profit”
       of the business or provide a reasonable economic measure of the Claimant’s “historical
       financial performance.” 10 This can lead to severely distorted results because under the BEL
       framework, claimants are entitled to be compensated based on the time period (of 3 months
       or more) which yields the greatest loss in variable profit for the claimant.


26. The example below illustrates how using financial statements prepared using the modified
       cash basis of accounting will create a distorted calculation of variable profit in the post-Spill
       period, unless such statements are analyzed to identify when revenues were earned and
       corresponding expenses incurred. The distortions that result from the failure to match
       revenues to the related expenses get amplified by the application of the RTP to the base
       compensation amount. 11




10
     See Exhibit 4C to the Settlement Agreement at P.1.
11
     RTP is described at Par. 38.126 of the Settlement Agreement.

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27. In the table above, the firm records $1,800 in revenue in July 2009 and $2,250 in December
       2010. Each of these large entries are payments for work carried out over the prior 18
       months. To assess financial performance as required by the BEL framework, the firm’s
       revenue should be recorded as it is earned over an 18-month period with some of the
       December 2010 revenue recorded in earlier months of 2010 and 2009 (when it was earned)
       and some of the July 2009 revenue to be allocated to prior months. Due to the distortions in
       the recording of revenue and expenses, the data in the table would generate $1,800 in Step 1
       Compensation, even though the firm actually generated larger revenue and variable profit in
       2010 than 2009. If revenues were recorded when earned, the claimant would not receive any
       compensation. By properly matching revenue and corresponding expenses and removing
       these distortions, certain claimants should not receive any Step 1 Compensation.


                    b)       Step 2 Compensation

28. Step 2 Compensation is “…intended to compensate claimants for the additional variable
       profits the claimant might have been expected to generate in 2010 in the absence of the
       Spill.” 12 The methodology compares the revenue growth in January through April 2010 to
       the Benchmark Period. It is likely that when revenues are properly recognized when earned
       as opposed to when collected, some claimants would benefit from a greater Claimant-
       Specific Factor under Step 2 because the January through April 2010 revenues may be




12
     See Exhibit 4C to the Settlement Agreement at P.1.

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      greater than the revenues in the same period during the Benchmark Period. Appendix D
      provides an example along these lines.


         B. Revenue Pattern Tests of the Causation Requirements for BEL Claims

29. Defining revenue when cash is received, as occurs in monthly financials prepared using
      OCBOA methods rather than when revenue was earned, creates “false positives” in
      implementing the revenue pattern tests of the causation requirements for BEL claims.


30. The “V-Shaped Revenue Pattern,” “Modified V-Shaped Revenue Pattern” and “Decline-
      Only Revenue Pattern” tests evaluate for claimants whether total revenues declined over a
      period of three consecutive months between May to December 2010 as compared to the
      Benchmark Period and, for two of the tests, whether revenues recovered subsequently.
      Therefore, it is critical that revenue be defined and measured appropriately as when it was
      earned rather than when it was collected in order to reflect the economic reality of the firm’s
      historical financial performance.


31. For professional services firms with monthly P&Ls prepared under an OCBOA method,
      monthly revenues reported will be volatile (because they depend on the timing of collections,
      not on work performed to earn the revenues) from year to year and month to month. Timing
      of payment may be affected by any number of factors as discussed in Section III, above.
      Thus, it is likely that, simply equating cash receipts with “revenue” will produce distorted
      results that yield a “false positive” indication that a claimant passes the V-shaped revenue
      pattern test, even where the claimant suffered no decline in actual financial performance.


VI.      Review of Offers Made to Date Indicates that Class Counsel’s Proposed BEL
         Interpretation Will Overcompensate Professional Services Claimants

32. My review of professional services firm claimants’ files reveals that the use of cash-based
      financial data can result in compensation which is economically irrational and
      overcompensates such claimants. I describe two claimant offers below. Additional claimant
      offers are discussed in Appendix E.




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   the months in which it was earned to determine revenue in those months for use in computing
   Step 1. The firm did not have such large revenue collection in May to October 2010 but
   rather collected $5.3 million in January 2011 or 70% of its 2011 annual revenue. The January
   2011 revenues were likely earned in prior periods (including May to October 2010) and
   should have been matched accordingly to compute Step 1 compensation. This would have
   substantially increased the firm’s variable profit in May to October 2010 and reduced the
   offer amount.


38. These results indicate that use of the claimant’s cash-based financial data without attempting
   to conform to the requirements of the BEL framework leads to an offer that greatly overstates
   the variable profit that the law firm might have expected to earn in the post-Spill period of
   2010. The offer is driven by the timing of cash payments the firm received in May to
   October, as the months used for the compensation and benchmark periods.


       B.       Issues To Address in Computing BEL Compensation for Professional
                Services Firms

39. Based on the available P&L data in the Settlement Program workbooks I reviewed, it seems
   that all 34 professional service claimants used an OCBOA method. I explain the basis for my
   conclusion in Appendix E. When revenues and expenses are not matched as occurs with cash
   or modified cash basis accounting, the variable profit will not reflect the actual profit earned
   or provide a reasonable economic measure of the business.


40. The distortions created by OCBOA-based P&L’s of professional services firms can be
   grouped in two categories:


            •   Timing: Revenues are reported when cash is received, and do not reflect the
                period in which revenue is earned. This has the effect of both overstating and
                understating the actual variable profit that was economically realized for at least
                some months of 2010 and of the benchmark period year(s).

            •   Classification: There are cost classification issues in the P&Ls. An amount may
                be presented in the proper period, but not properly categorized. For example,
                certain costs are improperly categorized as variable expenses, fixed costs or
                revenue because even though they have similar names, they are of a different
                nature for accounting purposes in professional service firms. Failing to address

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               these issues can result in a misstatement of actual revenues, variable expenses and
               variable profit. These costs include consulting costs (sometimes called expert
               fees), client reimbursements, litigation expenses, salaries & wages, and owners’
               compensation.

41. I discuss these timing and classification issues in further detail in Appendix F.


VII.   Proper Implementation of BEL Formulas for Professional Services Firms

42. Because many professional services firms prepare their monthly P&Ls using OCBOA
   methods, the BEL formula will compensate for losses that did not occur and will artificially
   inflate losses due to timing of when expenses are made and cash received if interpreted and
   implemented as Class Counsel suggests. BP’s proposal to flag claims where the mismatch
   between revenue earned and expenses appears to be significant and to perform the BEL
   calculation to align revenues earned to corresponding variable expenses incurred to generate
   those revenues is simple and workable and will provide a reliable measure of a firm’s
   financial performance and any loss it experienced in the post-spill period of 2010.


       A.      BP’s Proposed Triggers or Thresholds

43. BP has proposed three indicators or thresholds that would trigger a further review of a
   claimant’s financial data. I was involved in the development and selection of these indicators
   or triggers. Each is designed to capture unusual variances in revenues or expenses that reveal
   that the claimants’ P&Ls are under a cash-based accounting method. When professional
   services firm claimants’ financials are responsive to these triggers, the use of their financial
   statements as reported can result in distorted measures of BEL compensation or even affect
   the determination of causation. In Appendix G, I discuss these triggers further and illustrate
   in a chart how the triggers will work effectively for professional services firms.


44. These triggers are applied easily on already available financial data and using calculations
   currently performed by the Claims Administrator.




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                              LIST OF APPENDICES



 Appendix A:   Curriculum Vitae of Xavier Oustalniol

 Appendix B:   Documents Relied Upon

 Appendix C:   The Concepts of the Matching Principle and the Objective of
               Comparability in the Accounting Literature

 Appendix D:   Claimants may be better compensated under the Step 2 calculation

 Appendix E:   Additional Examples of Claims That Result in Distorted Compensation

 Appendix F:   Mismatch and Reclassification Issues
 Appendix G:   BP’s Proposed Triggers or Thresholds
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                                Appendix A

                    Curriculum Vitae of Xavier Oustalniol
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     Xavier Oustalniol, CPA (CFF), CIRA



Selected areas of experience

      Antitrust                                    Fraud Investigations, FCPA/Fraud
                                                     Prevention Assessments
      Asset Diversion and Tracing                  International / Domestic Arbitrations
      Accountant Malpractice                       Investigation of Accounting Irregularities
      Bankruptcy Fraud and Litigation              Purchase Price Disputes
      Breach of Contract Claims                    Shareholder Class Actions
      Corporate Veil / Alter Ego                   White Collar Crime / Criminal Allegations
      Economic Damages                             Wage and Hour
      Expert Witness Testimony
      Financial Reporting (US and
       French GAAP)


  Selected industry experience
      Accounting/Auditing                          Hedge Funds
      Aerospace/Aviation                           Hospitality
      Agri-business                                Insurance (P&C/Title)
      Automotive                                   Investment Management
      Beverage                                     Jewelry (Retail)
      Broker Dealers (Securities, Prime, Online    Manufacturing
       Retail)
      Cable and TV Satellite                       Medical Products and Devices
      Chemical                                     Mining (Copper)
      Commodities Trading                          Professional Services (Law Firms)
      Computer Hardware and Software               Real Estate (REITS, hotels, brokerage,
                                                     investments and other)
      Consumer Goods                               Subprime Mortgage Financing
      Document Management                          Semi-Conductors
      Electronic Components                        Retail (clothing, luxury)
      Energy                                       Transportation( Maritime and Trucking)
      Financial Institutions/Banks                 Telecommunications/Television
      Food Distribution                            Waste Management
      Government Contracting




                                                                                                  2
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    Xavier Oustalniol, CPA (CFF), CIRA


Expert Testimony Experience

      Trial/Arbitration

          In re: Vivendi Universal, S.A. Securities litigation (Case No. 02 Civ. 5571 (RJH/HBP)) –
           November 2009 (Federal Court - Jury trial)
          Livermore Auto Group v. Chrysler – May 2010 (AAA Arbitration)
          Southlake Dodge v. Chrysler – June 2010 (AAA Arbitration
          Larson Automotive Holdings v. Chrysler – June 2010 [designated expert in attendance]
           (AAA Arbitration)

      Deposition

          In re: Vivendi Universal, S.A. Securities litigation (Case No. 02 Civ. 5571 (RJH/HBP)) –
           March 2008 – Report Submitted
          Liberty Media Corporation et al. v. Vivendi Universal, S.A. Jean-Marie Messier,
           Guillaume Hannezo, and Universal Studios, Inc. (Case No. 03 CV 2175 (RJH/HBP)) –
           March 2008 – Report Submitted


Expert Designations

          William G. Stewart and Nancy Stewart v. BAC Home Loans Servicing, LP (Case No. CV
           3:10-cv-01225-SI) Northern District of California – Report Submitted - 2012
          In re: Alstom, S.A. Securities litigation (Case No. 03 CV 6595(VM)) –Report Submitted -
           2009

Publications

          “Earnings Management: Without Borders” (Alvarez & Marsal Newsletter “Raising the
           Bar” – September 2010)
           “When the Bubble Pops, Fraud Rears its Ugly Head: How to Avoid Getting Caught in
           the Next Wave” (Alvarez & Marsal Newsletter “Raising the Bar” – July 2009)


Recent Presentations

          “How to Work with/against an Expert - an Expert Perspective" – (Reed Smith LLP – San
           Francisco – November 5, 2012)
          “Unifying Compliance, Audit and Risk and Eliminating Silos” – Panel Discussion
           (Governance, Risk & Compliance Forums: Chicago - September 2012 and Dallas -
           October 2012)
          “Leveraging Your Existing Compliance Program to Address Specific Anti-Corruption and
           AML Requirements” - (Governance, Risk & Compliance Forums: Chicago - September
           2012 and Dallas - October 2012)
          “Fraud Risk Readiness in Financial Institutions – Designing a Risk Framework that
           Works and … Executing” (The Compliance Conversation: AML & Anti-Corruption Event:
           Thomson Reuters – San Francisco – June 2012)
           “What You Need to Know About FRCP 26 and the UK Bribery Act” (Nixon Peabody –
           San Francisco – May 2011)




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                                            Appendix B
                                        Documents Relied Upon


No.                                           Description
 1    2012-05-03 Amended Economic and Property Damages Settlement Agreement
 2    2012-12-21 Order and Reasons Granting Final Approval of the E&PD Settlement
 3    Exhibit 1A - Map of Economic Loss Zones
 4    Exhibit 02 - Tourism Definition
 5    Exhibit 03 - Seafood Distribution Chain Definitions
 6    Exhibit 04 - Henry Fishkind Declaration
 7    Exhibit 4A - Documentation Requirements for Business Economic Loss Claims
 8    Exhibit 4B - Causation Requirements for Business Economic Loss Claims
 9    Exhibit 4C - Compensation Framework for Business Economic Loss Claims
 10   Exhibit 4D - Attachment A - Compensation Framework for Business Economic Loss Claims
 11   Exhibit 4E - Addendum to Compensation for Business Economic Loss Claims: Compensation for
      Spill-Related Cancellations
12    Exhibit 15 - RTP Chart (Risk Transfer Premium)
13    Law Firms Filing Claims with the CSSP
14    Business Economic Loss Claim Form
15    2012-12-16 Memorandum to Request for Formal Policy Statement: Monthly Revenue
16    2012-10-8 Revisions or Clarifications of Selected Policy Decisions Following the October 1,
      2012 Panel Meeting
17    PTO13 Order Protecting Confidentiality
18    PTO38 Order Relating to Confidentiality of Settlement Communications
19    Settlement Discussion Confidentiality Agreement
20    Claim ID No.
21    Claim ID No.
22    Claim ID No.
23    Claim ID No.
24    Claim ID No.
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36    Claim ID No.
37    Claim ID No.
38    Claim ID No.
39    Claim ID No.
40    Claim ID No.


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                                            Appendix B
                                        Documents Relied Upon


No.                                           Description
 41Claim ID No.
 42Claim ID No.
 43Claim ID No.
 44Claim ID No.
 45Claim ID No.
 46Claim ID No.
 47Claim ID No.
 48Claim ID No.
 49Claim ID No.
 50Claim ID No.
 51Claim ID No.
 52Claim ID No.
 53Claim ID No.
 54AR Section 60, Framework for Performing and Reporting on Compilation and Review
   Engagements, December 2009 (AICPA)
55 Law Firm Accounting and Financial Management, Fifth Edition. Authors: Kolodziejczak and
   Gaulin. PricewaterhouseCoopers, 2012.
56 Financial Reporting and Statement Analysis, A Strategic Perspective, Third Edition. (Textbook)
   Author: Stickney. Harcourt Brace & Company, 1996.
57 Statement of Financial Accounting Concepts No. 5, Recognition and Measurement in Financial
   Statements of Business Enterprise, December 1984 (Financial Accounting Standards Board)

58 Statement of Financial Accounting Concepts No. 6, Elements of Financial Statements, December
      1985 (Financial Accounting Standards Board)
59    Statement of Financial Accounting Concepts No. 8, Conceptual Framework for Financial
      Reporting, September 2010 (Financial Accounting Standards Board)
60    BP’s Response To Class Counsel’s December 16, 2012 Request for Policy Determination
      (1/9/2013)
61    BP Further Submission in Response To Class Counsel’s December 16, 2012 Request for Policy
      Determination (1/11/2013)
62    Announcement of Policy Decisions Regarding Claims Administration (1/15/2013)




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                                                Appendix C

      The Concepts of the Matching Principle and the Objective of Comparability in the
                                  Accounting Literature


     The requirement in Step 1 of the BEL compensation formula that revenue be matched to
     corresponding variable expenses is supported in the accounting literature as a methodology
     designed to produce a reliable measure of a firm’s actual financial performance.


     The Financial Accounting Standards Board (“FASB”) has issued Statements of Financial
     Accounting     Concepts      (“FASCON”),        to   provide     the   framework       for   accounting
     pronouncements and Generally Accepted Accounting Principles (“GAAP”) and introduce
     basic accounting concepts.           Among such concepts, the matching of revenues to
     corresponding expenses is explained in FASCON 8 and the accrual basis of accounting is
     introduced as follows:


                 “Accrual accounting depicts the effects of transactions, and other events and
                 circumstances on a reporting entity’s economic resources and claims in the
                 periods in which those effects occur, even if the resulting cash receipts and
                 payments occur in a different period. This is important because information about
                 a reporting entity’s economic resources and claims and changes in its economic
                 resources and claims during a period provides a better basis for assessing the
                 entity’s past and future performance than information solely about cash receipts
                 and payments during that period.” 1 [Emphasis added]

     The matching principle, which does not exist under the modified cash basis of accounting, is
     rooted in FASCON 6 and FASCON 5:


                 “Matching of costs and revenues is simultaneous or combined recognition of the
                 revenues and expenses that result directly and jointly from the same transactions
                 or other events.” 2

                 and,



1
 See Statement of Financial Accounting Concepts No. 8, September 2010, Par. OB17.
2
 See Statement of Financial Accounting Concepts No. 6, Elements of Financial Statements, December 1985, Par.
146.
                                                   Page 1
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                 “[…] Revenues and gains of an enterprise during a period are generally measured
                 by the exchange values of the assets (goods or services) or liabilities involved,
                 and recognition involves consideration of two factors (a) being realized or
                 realizable and (b) being earned, with sometimes one and sometimes the other
                 being the more important consideration.” 3

     The accounting literature uses interchangeably the terms corresponding or related to describe
     how revenues are tied.


     Further, FASCON 6 supports that the distortion created by ignoring the matching concept is
     greater when the reporting periods are shorter. Since most of the Compensation Periods used
     are less than one year under the BEL framework, financial statements prepared using
     OCBOA methods will create a distorted picture of actual financial performance absent
     subsequent work by the Settlement Program to match revenues to corresponding variable
     expenses. FASCON 6 states:.


                 “Accrual accounting recognizes numerous noncash assets, liabilities, and
                 transactions and other events that affect them (paragraphs 139–141). Thus, a
                 major difference between accrual accounting and accounting based on cash
                 receipts and outlays is timing of recognition of revenues, expenses, gains, and
                 losses…A report showing cash receipts and cash outlays of an enterprise for a
                 short period cannot indicate how much of the cash received is return of
                 investment and how much is return on investment and thus cannot indicate
                 whether or to what extent an enterprise is successful or unsuccessful.” 4 [Emphasis
                 added]

     Finally, a key issue created by failing to match revenues and related expenses is the lack of
     comparability of the financial statements over time. In that regard, FASCON No.8 explains:


                 “Users’ decisions involve choosing between alternatives, for example, selling or
                 holding an investment, or investing in one reporting entity or another.
                 Consequently, information about a reporting entity is more useful if it can be
                 compared with similar information about other entities and with similar




3
  See Statement of Financial Accounting Concepts No. 5, Recognition and Measurement in Financial Statements of
Business Enterprise, December 1984, Par. 83.
4
  See Statement of Financial Accounting Concepts No. 6, Elements of Financial Statements, December 1985, Par.
144.
                                                    Page 2
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                information about the same entity for another period or another date.”5
                [Emphasis added]




5
 See Statement of Financial Accounting Concepts No. 8, Conceptual Framework for Financial Reporting,
September 2010, Par. QC20.
                                                   Page 3
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                                                  Appendix D

               Claimants may be better compensated under the Step 2 calculation


         If revenues were recognized when earned as opposed to when collected, some
         professional services firm Claimants may benefit from a greater Claimant-Specific Factor
         (“CSF”). 1


                                   Revenue                                Revenue
                                                                       May-
                                  Jan - Apr                          December
                                                            Growth              Incremen- Var. Profit   Step 2
                               2009     2010      Change               2009
                                                            Factor                  tal    Margin       Comp.
            Original Data       $0        $0        0%        2%       $1,800       $36        78%        $28
            Matched Data        $400    $500       25%       12%       $900        $108        56%        $60
            Benefit to Claimant                                                                           $32



         In the above example, without properly matching revenue earned to expenses incurred in
         the correct period, all of the revenues in 2009 and 2010 are recorded in May through
         December and no revenues are recorded in the first four months of each year. As a result,
         there is no change in revenue growth from 2009 to 2010. The CSF is therefore 0% and
         the total growth factor is only 2% for Step 2 calculation leading to a $28 Step 2
         compensation amount.


         When revenues are properly matched to the appropriate periods, Step 2 Compensation
         can be favorably impacted. In the above example, $900 of the $1,800 is reallocated
         ($400 to January through April 2009 and $500 to the same period in 2010). After
         revenue is properly matched to the periods they were earned, the revenue growth for
         January through April increased from 0% to 25%. Per Exhibit 4C of the Settlement
         Agreement, if the calculated CSF exceeds 10%, it will be set at 10%. Therefore, adding
         10% to the general adjustment factor of 2% yields a growth factor of 12%. The higher

1
  The method calculates a growth factor (the Claimant Specific Factor, or “CSF”), which divides by the revenues
recognized from January through April of the Benchmark Period, the difference between revenues from January
through April of the Benchmark Period and the same period in 2010. The CSF, capped at 10% is applied to six
months (at least) of revenues from the Benchmark Period to determine Incremental Revenues. A Variable Margin
percentage is then applied to the Incremental Revenues obtained to calculate the lost profits in Step 2 Compensation.
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    growth factor applied to May through December 2009 revenues leads to higher
    incremental revenue of $108. Assuming that variable costs stayed unchanged at $400,
    the decline in May through December 2009 revenues after reallocation would decrease
    variable profit margin from 78% to 56%.         However, Step 2 Compensation amount
    increases by $32 as a result recording revenue when it is earned.




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                                                  Appendix F

                                   Mismatch and Reclassification Issues


         I.    Examples of Mismatch between Revenues and Expenses - Timing

               Law firm claimant No.                    reported variable profit of more than $1.5 million
               (83% variable margin) in August 2009, but variable profit of approximately negative
               $392,000 (-899% variable margin) in December 2009. Similarly, law firm claimant
               No.                reported variable profit of more than $777,000 (on a margin of more
               than 95%) in June 2009 followed by variable profit of only $3 thousand (and margin
               of less than 25%) in August 2009.               Law firm claimant                       reported
               variable profit of just under $1 million (66% variable margin) in November 2009
               followed by variable profit of approximately negative $13,000 (-92% variable
               margin), in the very next month.


        II.    Examples of Reclassification of Costs Specific to Professional Services Claimants

                                a) Disbursements

               In relation to professional services firms, incurred cost disbursements appear to be
               handled inconsistently by claimants and not corrected by the Settlement Program,
               which can result in a misstatement of both revenues and expenses. For example, law
               firms often charge their clients for expert fees, travel expenses, filing fees, court costs
               and other external disbursements to third parties that the law firm incurs on behalf of
               the clients. Costs that are “passed through” to clients should not impact revenues,
               expenses or net income of the firm. 1 Additionally, the timing of the reimbursement
               for these costs may differ from the timing of the payment of the expense, which will
               affect compensation as currently calculated.            As a result, such costs should be
               excluded from any analysis of variable profit under the Settlement Agreement, and
               my review indicates this is not always done. These costs can be material.


1
    See Law Firm Accounting and Financial Management, Fifth Edition, 2012, 4.05 Cost Recoveries, P. 4-11


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       For example, a law firm claimant No.                  recorded $830,000 reimbursed
       expenses as revenues in 2008, whereas the firm recorded approximately $370,000 in
       “client cost advanced” the same year. Because of the timing of collections and
       disbursement, the variable profit will be overstated and result in overstated
       compensation unless these costs are excluded from the calculation of variable profit.


                      b) Owners’ Compensation / Payroll Costs

       Under the BEL framework, payroll costs can be classified as fixed or variable.
       However, owners and officers compensation is (properly) considered a fixed expense.
       In some professional services firm claimants’ files I noted that throughout the year
       owner compensation may be recorded as a variable expense and reclassified in fixed
       cost at the end of the year, which has the effect of understating variable profit
       throughout the year and artificially depressing the performance of the firms. For
       example, in reviewing law firm claimant No.              , I observe that in October of
       2009 the firm recorded a negative $731,000 in salaries (Variable Expense) and
       appeared to have reallocated a portion amounting to $218,000 to owners and officers
       compensation (a fixed expense) within the same month. Given that the Compensation
       period is from May to November, it results in an inaccurate calculation of variable
       profit, and consequently the Compensation for claimant. Likewise, law firm claimant
       No              includes in 2009 payroll cost of the owner as a variable cost for most
       of the year and reverses such cost in December of each year for about $90,000 in
       2009 and 2010 and $45,000 in 2008. Because of the compensation period being May
       through December, the calculation is inaccurate.




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                                           Appendix G

                                  BP’s Proposed Triggers or Thresholds


BP has proposed three indicators or thresholds that would trigger a further review of a claimant’s
financial data. These triggers are as follows:


       •   Trigger 1 (Revenue Spike): is a test designed to capture unusual and non seasonal
           variance in the monthly financial revenue of a claimant when material cash is
           collected as opposed to earned.


       •   Trigger 2 (Months with Negative Margin): evaluates whether negative variable profit
           was recorded in any given month of the Benchmark period or 2010. The premise of
           the test is that the occurrence of negative variable profit indicates a potential
           mismatch between revenue and corresponding expenses as opposed to the failure of
           the firm to perform.


       •   Trigger 3 (Range of Variable Profit Percentages): seeks to capture unusual economic
           swings in variable profit margin (as a percentage of revenue) on a month-to-month
           basis during the Benchmark period or 2010. This trigger identifies potential
           distortions where the variable profit margin is affected by the timing of the payment
           of expenses and receipt of revenues.


These triggers detect those professional service firms with financial statements that are not
representative of their financial performance as illustrated in the chart below:




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      Claimant Compensation                           Months with Negative Range of Variable
No.      ID.     Months        Revenue Spike                 Margin         Profit Percentages
 1              May - Nov 43% of 2009 annual          0 months in 2009    24% in Aug 2009 to
                            revenue in Jun 2009                           100% in Oct 2009


2                 Oct - Dec   44% of annual revenue 1 months in 2009          (92%) in Dec 2009 to
                              in Nov 2009                                     93% in Aug 2009


3                 May - Nov   30% of 2009 annual      3 months in 2009        (1,015%) in Dec 2009
                              revenue in Oct 2009                             to 134% in Jan 2009


4                 May - Oct   47% of 2009 annual      3 months in 2009        (281)% in Dec 2009 to
                              revenue in Oct 2009                             98% in Mar 2009


5                 Jun - Aug   21% of 2009 annual      5 months in 2009        (75,864)% in Mar 2009
                              revenue in Jan 2009                             to 80% in Jan 2009


6                 May - Nov   57% of 2009 annual      3 months in 2009         (114%) in May 2009 to
                              revenue in Nov 2009                             1,648% in Dec 2009


7                 Jun - Aug   26% of 2009 annual      6 months in 2009        (704)% in Jul 2009 to
                              revenue in Oct 2009                             81% in May 2009


8                 May - Nov   73% of 2008/2009        0 months in 2008/2009   5% in Feb 2008/2009
                              annual revenue in Nov                           to 94% in Nov
                              2008/2009                                       2008/2009




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